Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                            Exhibit Page 1 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                            Exhibit Page 2 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                            Exhibit Page 3 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                            Exhibit Page 4 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                            Exhibit Page 5 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                            Exhibit Page 6 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                            Exhibit Page 7 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                            Exhibit Page 8 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                            Exhibit Page 9 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 10 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 11 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 12 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 13 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 14 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 15 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 16 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 17 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 18 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 19 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 20 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 21 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 22 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 23 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 24 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 25 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 26 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 27 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 28 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 29 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 30 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 31 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 32 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 33 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 34 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 35 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 36 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 37 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 38 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 39 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 40 of 41
Case 19-24468-KCF   Doc 19-2 Filed 10/25/19 Entered 10/25/19 12:41:17   Desc
                           Exhibit Page 41 of 41
